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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

IN RE

PALM BEACH FINANCE PARTNERS, L. P.                          CASE NO. 09-36379-PGH
                                                            CHAPTER 11
      DEBTOR.
____________________________________/

                      NOTICE OF WITHDRAWAL OF APPEARANCE
                     AND REQUEST TO STOP ELECTRONIC NOTICE

        COMES NOW Noel R. Boeke, attorney for Boca Raton Christian School and Southwest

Key Programs, Inc., and files his Notice of Withdrawal of Appearance and Request to Stop

Electronic Notice, and requests to be administratively terminated in this case for the purpose of

receiving notices. The undersigned no longer wishes to receive notices from the Court, either by

electronic form or first class mail.

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

the Court's CM/ECF System to all parties receiving electronic notice in this case, on this 22nd day

of March, 2013.

                                                     /s/ Noel R. Boeke
                                                     Noel R. Boeke
                                                     Florida Bar No. 151830
                                                     HOLLAND AND KNIGHT LLP
                                                     P.O. Box 1288
                                                     Tampa, FL 33601-1288
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